SNAP Application and Call Center
Metrics                                                                         May‐24               Jun‐24                Jul‐24                 Aug‐24              Sep‐24
           SNAP Application Rejections*
SNAP Applications Rejected for Failure to
Complete the Interview (can include other
rejection reasons)*
                                            Count                               11,405               8,980              12,572                     9,437             12,140
                    % of all applications rejected                              51.12%              48.09%              50.07%                    43.39%             50.91%
SNAP Applications rejected ONLY for Failure to
Complete the Interview
                                            Count                                9,875               7,688              10,902                     8,050             10,648
                    % of all applications rejected                              44.26%              41.17%              43.42%                    37.02%             44.65%
                  Tier 1 Metrics
Average Wait Time (h:mm:ss)                                                   1:19:16             1:15:07             0:32:05                   0:38:51     0:42:15
 Lowest Daily Avg Wait Time                                                   1:00:30             0:50:47             0:20:18                   0:02:01     0:01:44
 Highest Daily Average Wait Time                                              1:28:40             1:39:44             0:53:11                   0:53:28     0:59:54
 Min Wait Time                                                            0:00:00.049         0:00:00.091         0:00:00.091               0:00:00.101 0:00:00.053
 Max Wait Time                                                                6:04:29             6:03:52             4:08:49                   4:57:59     5:51:23
Queue Deflections**                                                           39,321              30,950              13,254                    16,399      17,492
Count of Customer Disconnects (Abandoned Calls)                               31,358              30,999              31,479                    35,260      34,231
 Avg Time Until Customer Disconnect (h:mm:ss)                                 0:56:27             0:52:42             0:13:52                   0:18:25     0:19:14
Accommodation Requests***
                  Tier 3 Metrics
Average Wait Time (hh:mm:ss)                                                  0:35:01             0:37:23             0:20:38          0:19:05     0:22:17
 Lowest Daily Avg Wait Time                                                   0:29:56             0:23:24             0:13:41          0:13:00     0:17:34
 Highest Daily Average Wait Time                                              0:43:05             0:51:22             0:28:58          0:31:24     0:32:12
 Min Wait Time                                                            0:00:00.053         0:00:00.047         0:00:00.044      0:00:00.050 0:00:00.005
 Max Wait Time                                                                3:28:51             5:12:17             2:14:05 11:02:26 ****        2:14:34
Queue Deflections**                                                           42,057              49,920              11,191           10,358      10,736
Count of Customer Disconnects (Abandoned Calls)                               20,482              19,637              17,119           19,860      14,813
Avg Time Until Customer Disconnect                                            0:25:10             0:29:04             0:14:30          0:13:36     0:15:01
Accommodation Requests***

* SNAP applications may be rejected for multiple reasons. This count includes all applications that rejected for UCI (unable to complete interview) regardless of whether
there were additional reasons the application would be rejected.


** A "deflection" is a call that did not make it into the queue because of wait time thresholds. An "abandoned call" is a caller that disconnected before reaching an agent.

*** Although many accommodations are made as part of our daily work, DSS does not currently track the number of accommodation requests made by SNAP applicants and
participants at a systemic level. Accommodations are currently recorded as notes in individual case files and cannot be pulled as a data element. Therefore, there is not a
measurement DSS can accurately report for this metric at this time. DSS is determining how to best compile and report this information and will provide updates on this
metric as soon as they become available.

**** The "Max Wait Time" for August 2024 has been skewed and, while accurate, does not reflect the time in which an individual was waiting in a queue or on hold to speak
with someone in our call center. A single call did not hang up and remained open overnight in Tier 3. There were difficulties disconnecting the call that required IT assistance
to resolve. No caller was left on hold for 23 hours.




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Call Deflections/Redirections by Date
Date           Tier 1 Deflections      Tier 3 Deflections
    9/1/2024                       0                           0
    9/2/2024                       0                           0
    9/3/2024                    1301                        1404
    9/4/2024                    2107                         532
    9/5/2024                     617                         221
    9/6/2024                     750                         793
    9/7/2024                       0                           0
    9/8/2024                       0                           0
    9/9/2024                    1268                         748
   9/10/2024                     889                         139
   9/11/2024                     654                         189
   9/12/2024                     818                         369
   9/13/2024                     471                         362
   9/14/2024                       0                           0
   9/15/2024                       0                           0
   9/16/2024                     694                         728
   9/17/2024                     562                         221
   9/18/2024                     678                         457
   9/19/2024                     982                         134
   9/20/2024                     796                         357
   9/21/2024                       0                           0
   9/22/2024                       0                           0
   9/23/2024                    1168                         330
   9/24/2024                     770                          36
   9/25/2024                     628                         316
   9/26/2024                     668                         508
   9/27/2024                     946                        1390
   9/28/2024                       0                           0
   9/29/2024                       0                           0
   9/30/2024                     725                        1502




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